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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

      Plaintiffs,
                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

      Defendants.



                    DECLARATION OF JEREMY BLIETZ IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




                        [Declaration filed under seal]
